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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO.: 20-cv-21457-KMW
   ANTHONY SWAIN, et al.,

           Plaintiffs,
   v.

   DANIEL JUNIOR, et al.,

         Defendants.
   ______________________________/

                     DEFENDANTS’ REPLY TO PLAINTIFFS’ OPPOSITION1
                          TO DEFENDANTS’ MOTION TO DISMISS
           Plaintiffs, originally seven2 inmates currently in the custody of Defendants, have brought
   suit challenging the conditions of their confinement. Accordingly, their claims are subject to the
   administrative exhaustion requirements of the Prison Litigation Reform Act (“PLRA”). Plaintiffs,
   by their own admission, have failed to exhaust their administrative remedies through the process
   provided for by the Miami-Dade Corrections and Rehabilitation Department (“MDCR”).
           Realizing this failure mandates dismissal of Count I of their Complaint, Plaintiffs make
   essentially two arguments in an effort to circumvent the PLRA’s exhaustion requirement: First,
   Plaintiffs ask this Court to find that administrative remedies were “unavailable” to them because
   they allegedly asked for, but did not receive, grievance forms in the days before they filed a federal
   class action. Second, Plaintiffs ask this Court to find that administrative remedies were
   “unavailable” to them because of a claimed “imminent danger exception” that is not recognized in
   the law (essentially, that the grievance process would take too long). See generally Plaintiffs’
   Opposition to Defendants’ Motion to Dismiss Count I of the Complaint (“Response”) (DE 119).




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     Plaintiffs filed a separate Response in Opposition to Defendants’ Motion to Dismiss (DE 119), despite
   having already responded to Defendants’ arguments regarding exhaustion in their Combined Reply (DE
   85) at 27-32.
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     Three of the seven named plaintiffs—Peter Bernal, Winfred Hill, and Bayardo Cruz—have since been
   released from MDCR custody. Accordingly, these Plaintiffs’ injunctive claims are moot, and they should
   be dismissed as plaintiffs. See Zatler v. Wainwright, 802 F.2d 397, 399 (11th Cir. 1986) (“In view of Zatler’s
   subsequent release, we find that his claims for declaratory and injunctive relief are now moot.”).
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           Neither of these arguments is legally or factually sound. The inexorable result is this: Count
   I of the Complaint, for relief pursuant to 42 U.S.C. section 1983, must be dismissed for Plaintiffs’
   failure to exhaust available administrative remedies prior to filing suit as required by the PLRA.
                                              ARGUMENT
   I.      The Record Shows MDCR’s Grievance Procedure Was Available as a Matter of Fact
           Plaintiffs’ first argument, which claims the administrative grievance process was
   “unavailable” because they did not have access to grievance forms, is readily belied by the record.
   Plaintiffs’ allegations regarding availability, which lack any real specificity, run afoul of caselaw
   from this District and elsewhere concluding that generalized allegations that attempts to file
   grievances have been thwarted by jail staff are not sufficient to override exhaustion in the absence
   of supporting proof. These allegations are also conclusively refuted by declarations from six
   MDCR employees, several of whom are staffed to the Plaintiffs’ own housing units, which
   consistently reiterate that there has never been a shortage of grievance forms at Metro West such
   that inmates could not receive a grievance form upon request, as well as by MDCR administrative
   records which reflect that other inmates in the custody of MDCR filed grievances throughout this
   time—some inmates even filed more than one during this period—but not one of the seven
   Plaintiffs filed any grievance on any issue between January 1 and April 10, 2020.
           Finally, even crediting Plaintiffs’ paltry factual allegations, they essentially concede they
   had no intention of exhausting prior to filing suit, as their own declarations admit Plaintiffs began
   to request grievance forms on March 31, mere days prior to filing a federal class action lawsuit on
   April 5. This last point is dispositive. Even accepting Plaintiffs’ allegations as true, they are
   tantamount to an admission that Plaintiffs never genuinely attempted to exhaust administrative
   remedies prior to suit, and their post hoc attempt to claim “unavailability” as a shield must be
   rejected.
        A. Grievance Forms Have Always Been Available to All Inmates, Including Plaintiffs
           The evidence in the record shows that paper grievance forms have always been available
   at Metro West and, as a result, have always been available to the Plaintiffs. The declaration of
   correctional counselor supervisor Terrence Mathews establishes that fact on its own. See Mathews
   Decl. ¶ 3 (DE 66-5). Plaintiffs cannot rebut this testimony, so they resort to attorney argument—
   not evidence—which (1) assumes scores of inmates must have wanted to file grievances in the
   handful of days before they filed the complaint; (2) assumes there was such a run on grievances



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   that counselors were unable to keep blank forms in stock; (3) speculates Mathews is unaware of
   what is “actually” happening in the facility he supervises; and (4) obtusely misreads the phrase
   “running low” to mean “none.” See Resp. at 14-15 (claiming, without more, that Mathrews’s
   restocking of forms suggested supply had been “deplet[ed]”). Plaintiffs also offer no evidence to
   rebut Acting Commander Reynaldo Romero’s declaration and its exhibit, which together
   demonstrate (1) that not a single Plaintiff here filed a grievance between January 1 and April 10,
   2020; and (2) that twenty-two different Metro West inmates filed twenty-nine grievances in the
   fourteen days before the complaint was filed—with some inmates even filing more than one
   grievance during that period, despite the purported unavailability of forms. See generally Romero
   Decl. (DE 66-4).
          In addition to the sworn testimony of two supervisors, additional evidence in the record
   belies Plaintiffs’ general claims of unavailability. Specifically, four of the declarations provided
   with Defendants’ response to the motion for a preliminary injunction contain sworn testimony
   from MDCR officers with knowledge of Plaintiffs’ housing units. See Johnson Decl. (DE 65-5);
   Delancy Decl. (DE 65-6); Mayo Decl. (DE 65-7); Almonor Decl. (DE 65-9). These declarations
   speak with one voice in affirming the availability of paper grievance forms. Every single one of
   these declarations—submitted by Officer Beatrice Almonor, who is assigned to Anthony Swain’s
   unit (1D2); Officer Patricia Delancy, who is assigned to Winfred Hill and Peter Bernal’s unit
   (1D3); Officer Dasmine Mayo, who is assigned to Deondre Willis, Bayardo Cruz, Ronniel Flores,
   and Alen Blanco’s unit (2C2); and Corporal Bridgett Johnson, who oversees 1 Delta Wing—
   expressly and unequivocally states, under oath, that there has been no shortage of paper grievance
   forms in any of these units at any point in 2020. See Almonor Decl. ¶¶ 3, 12; Delancy Decl. ¶¶
   3, 6; Mayo Decl. ¶ 16; Johnson Decl. ¶ 19. Corporal Johnson further notes that any MDCR
   employee refusing to provide a grievance form to an inmate would be subject to discipline. Id.
          Plaintiffs’ vague allegations regarding unavailability simply do not suffice under well-
   established case law in this Circuit. Courts in this Circuit have repeatedly held that a plaintiff
   alleging prison officials prevented him from exhausting “must have some supporting proof of his
   assertions,” as “bald assertions that attempts at exhaustion were thwarted by jail staff are
   insufficient.” Kingcade v. Parker, 949 F. Supp. 2d 1232, 1239 (S.D. Fla. 2013); see also Filmore
   v. Cooper, No. 18-0955, 2020 WL 1275385, at *6 (M.D. Fla. Mar. 17, 2020); Crutchley v.
   Chambers, No. 19-0043, 2020 WL 1301633, at *4 (M.D. Ga. Feb. 6, 2020) (“While Plaintiff



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   claims ‘several different officers’ refused to provide him a grievance form, he does not give the
   officers’ names, the dates these incidents allegedly occurred, or any other specific facts supporting
   his claims.”), report and recommendation adopted, 2020 WL 1289171 (M.D. Ga. Mar. 18, 2020);
   Teran v. Johns, No. 17-0009, 2017 WL 4678220, at *4 (S.D. Ga. Oct. 17, 2017), report and
   recommendation adopted, 2017 WL 6028400 (S.D. Ga. Dec. 5, 2017); Purvis v. Dukes, No. 16-
   0015, 2017 WL 763931, at *3 (S.D. Ga. Jan. 19, 2017) (“Even if a hurdle to exhaustion existed as
   Purvis claimed in his Complaint, he has shown no evidence . . . that it rose to the height of
   unavailability that the Supreme Court contemplated in Ross.”), report and recommendation
   adopted, 2017 WL 758294 (S.D. Ga. Feb. 27, 2017).
          Nor can Plaintiffs claim ignorance or confusion; even a cursory review of the case law
   reveals the level of factual detail necessary for a plaintiff to demonstrate that administrative
   exhaustion was truly unavailable. Compare Filmore, 2020 WL 1275385, at *6 (“Plaintiff does not
   provide any factual detail explaining the steps he took to obtain formal grievance forms, such as
   who he asked, how many times he asked, or whether he took other measures to obtain the forms.”),
   and Teran, 2017 WL 4678220, at *4 (“[H]e does not state when he requested grievance forms or
   identify the prison official who denied his request.”), with Minnis v. Jones, No. 17-20575, 2017
   WL 9605073, at *6 (S.D. Fla. Nov. 17, 2017) (finding that plaintiff had supported his claim of
   unavailability by providing detailed allegations like describing an interaction with a named warden
   who tore up a grievance form in front of him, told him it was not possible to grieve certain types
   of officers, and threatened him with transfer to another named facility if he didn’t stop filing
   grievances), report and recommendation adopted, 2018 WL 3054803 (S.D. Fla. June 20, 2018).
          And dismissals for failure to exhaust have been repeatedly affirmed by the Eleventh
   Circuit, even where the plaintiff alleged unavailability. See, e.g., Williams v. Barrow, 559 F. App’x
   979, 987–88 (11th Cir. 2014) (affirming dismissal of complaint for failure to exhaust where
   allegation that plaintiff failed to exhaust because of “escalating retaliation” was not supported by
   evidence of actual threats of retaliation); Kozuh v. Nichols, 185 F. App’x 874, 878 (11th Cir. 2006)
   (affirming dismissal for failure to exhaust where plaintiff supplied no evidence to support
   allegations he was thwarted from bringing grievances or that grievance process was unavailable).
          As in the plethora of cases cited above, Plaintiffs here adduce no evidence beyond their
   own claims to support vague, convenient, and self-serving allegations regarding unavailability,
   and their claims are simply incredible in light of record evidence regarding (1) the availability of



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   forms testified to by six different MDCR employees; (2) the very fact that other inmates were able
   to file grievances throughout this time, some more than once; and (3) the implications of refusing
   to provide an inmate with a grievance form—namely, that such an action would subject an MDCR
   to discipline for such conduct.
          Given the above, the factual record does not support crediting Plaintiffs’ factual allegations
   regarding the availability of paper forms in the days before they filed suit, and this Court should
   reject Plaintiffs’ attempt to circumvent the PLRA’s exhaustion requirement.
      B. Plaintiffs’ Allegations Concede They Never Intended to Exhaust Pre-Suit
          Plaintiffs’ factual allegations regarding unavailability are sparse and vague, but they do
   identify, with some specificity, the dates on which they allegedly requested paper grievance forms.
   Plaintiffs’ admission that they only began to attempt to grieve in the four days before filing this
   case on April 5—complete with a contemporaneously-filed motion for preliminary injunction and
   supplemented with a number of declarations from both inmates and physicians—on its face
   demonstrates that Plaintiffs never genuinely attempted to access the grievance process or attempt
   exhaustion. This point alone is sufficient to justify dismissal.
          With their Response, Plaintiffs filed two declarations asserting various allegations in
   support of Plaintiffs’ claims of unavailability. See Supp. Blanco Decl. (DE 119-1); Supp. Cruz
   Decl. (DE 119-2). The problems with these declarations are myriad, but at least three are as
   follows: First, Cruz no longer has standing to pursue Count 1 of this Complaint in light of his
   release from custody. Second, Blanco’s vague allegations of unavailability fall far short of
   articulating the level of factual detail that would support crediting his claims of unavailability, not
   to mention that the few factual allegations in his declaration (such as naming officers from whom
   he purportedly requested grievance forms (see Supp. Blanco Decl. ¶ 6)) conflict with the testimony
   he gave during the Preliminary Injunction Hearing (see Transcript of Hearing Held 4-27-2020 (DE
   134) at 28:1-5 (“PLAINTIFFS’ COUNSEL: Do you recall the names of the officer you asked for
   the grievance? BLANCO: Officer Mayo, the 7 to 3 shift; Officer Joseph, 7 to 3 shift; Officer
   Jackson 11 to 3 shift; Officer Simente the 11 to 3 shift; and Officer Wilkins the 3 to 11 shift.”).
   Third, and perhaps most saliently, the one factual allegation upon which Blanco has never wavered
   is that he did not request a grievance form for the first time until March 31. It also bears noting
   that the three other named Plaintiffs still in the custody of MDCR—Anthony Swain, Deondre




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   Willis, and Ronniel Martinez-Flores—did not submit any declarations with Plaintiffs’ Response
   regarding exhaustion. Only Alen Blanco did. And his testimony does not help Plaintiffs.
           The Governor of Florida declared a state of emergency on March 9. Gov’r of Fla., Exec.
   Order    No.   20-52    (Mar.   9,   2020),   available   at   https://www.flgov.com/wp-content/
   uploads/orders/2020/EO_20-52.pdf. Days later, on March 12, MDCR took two major remedial
   steps: canceling all visitation and limiting inmate movement. Junior Decl. ¶¶ 44, 52 (DE 65-1).
   Over the next twenty-one days, despite being on notice regarding the existence and spread of
   COVID-19, Plaintiffs—seven different inmates, all familiar with the grievance process—failed to
   file a single grievance about what Plaintiffs have labeled an unprecedented global pandemic. They
   did have the time and foresight, however, to round up ten experts, complete seven lengthy
   declarations, and prepare a class action complaint and motion for preliminary injunction for filing
   in federal court. In other words, Plaintiffs accused Defendants of deliberate indifference on April
   5 for an issue Plaintiffs themselves evidently discovered on March 31.
           This revelation that Plaintiffs apparently planned to file grievances only days before they
   filed suit—by which time the forms were, according to Plaintiffs, suddenly unavailable throughout
   all of Metro West—betrays a critical truth: the Plaintiffs never intended to see the grievance
   process through to its conclusion. See Supp. Blanco Decl. ¶¶ 3, 6; see also Transcript of Hearing
   Held 4-27-2020 (DE 134) at 27:18-20 (“BLANCO: The first time I asked for a grievance was
   March 31st, which I believe was a Tuesday, around the beginning of the 3 o’clock shift.”).
           In sum, Plaintiffs have only proffered factual detail from one still-incarcerated Plaintiff,
   Blanco, and his admission—that he began attempting to exhaust for the first time on March 31—
   reveals Plaintiffs had come to the foregone conclusion that the lawsuit would be filed regardless,
   in open defiance of the PLRA’s policy goals of “eliminat[ing] unwarranted federal-court
   interference with the administration of prisons” and “‘affor[ding] corrections officials time and
   opportunity to address complaints internally before allowing the initiation of a federal case.’”
   Woodford v. Ngo, 548 U.S. 81, 93 (2006) (quoting Porter v. Nussle, 534 U.S. 516, 525 (2002));
   see also United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (recognizing that “strict
   compliance with [statutory exhaustion requirements] takes on added—and critical importance”
   when prison officials, who have a “shared desire for a safe and healthy prison environment,”
   engage in “extensive and professional efforts to curtail the virus’s spread,” as Defendants have




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   here). Plaintiffs cannot hide behind a claim of purported unavailability where their own testimony
   reveals they never intended to genuinely pursue exhaustion pre-suit.
   II.     Plaintiffs’ Legal Arguments Regarding Unavailability—Including Futility or an
           Imminent Danger Exception—Are Not Valid
           Plaintiffs’ alternative argument that “the typical grievance procedure would take too long
   to result in any changes to Plaintiffs’ confinement that could protect them from imminent bodily
   injury and death,” Compl. ¶ 105, raises, in all pertinent respects, the same dispute the Supreme
   Court long ago resolved in Booth v. Churner, 532 U.S. 731 (2001). In that case, the Court held that
   a prison administrative procedure is “available” under the PLRA as long as it has “authority to
   take some action in response to [an inmate’s] complaint,” even if it cannot provide “the remedial
   action an inmate demands.” Id. at 736 (emphasis added). The Court reaffirmed Booth’s holding in
   Woodford: “a prisoner must now exhaust administrative remedies even where the relief sought . .
   . cannot be granted by the administrative process.” 548 U.S. at 85. And most recently, in Ross v.
   Blake, the Court explained that a grievance procedure is unavailable under a “dead-end exception”
   only if “officers [are] unable or consistently unwilling to provide any relief to aggrieved inmates.”
   136 S. Ct. 1850, 1859 (2016) (emphasis added). In Booth, the relief that could not be granted by
   the process was money, but the plaintiff was required to exhaust anyway. 532 U.S. at 740–41.
           Booth and its progeny—both in the Supreme Court and in the Eleventh Circuit, see Johnson
   v. Meadows, 418 F.3d 1152, 1156 (11th Cir. 2005)—foreclose any effort by Plaintiffs to override
   exhaustion here. They do not argue (or, in light of the evidence of MDCR’s remedial efforts,
   cannot genuinely argue) that MDCR could not provide them any of the relief they sought in their
   complaint, such as being given liquid hand soap, paper towels, wipes, or disinfecting supplies,
   through the administrative process.3 See Compl. 43-45. The facts on the ground defeat this
   argument, as MDCR began giving (or giving access to) nearly all of these same items to inmates
   long before the start of this lawsuit. See, e.g., Junior Decl. ¶¶ 29, 32; Johnson Decl. ¶¶ 11–12;
   Almonor Decl. ¶¶ 9, 13; Mayo Decl. ¶ 11; Delancy Decl. ¶¶ 4, 9, 11. Plaintiffs have to admit, then,



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     The ONE grievance Plaintiffs do provide, a form filled out by non-party Kellen Stuhlmiller (DE 119-3),
   on April 3, 2020 no less, when paper forms were allegedly rare and precious, requests the following:
           “I hereby formally request my release from incarceration due to the lack of safety and
           precautions to prevent COVID19 from infecting me and other inmates.”
   It seems incredible, but apparently Defendants have to write it out once again: MDCR does not make release
   decisions. Stuhlmiller’s “grievance” to MDCR requesting release is not a meritorious request for relief.


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   that MDCR’s procedure would, as a matter of law, afford “the possibility of some relief.” Booth,
   532 U.S. at 738.
           That’s all the PLRA asks of an “available” administrative remedy, so Plaintiffs’ decision
   not to engage that remedy must lead to a finding that their failure to exhaust is not excused. See
   Nellson v. Barnhart, No. 20-0756, 2020 WL 1890670, at *4 (D. Colo. Apr. 16, 2020) (denying
   temporary restraining order to plaintiff who failed to exhaust administrative remedies but claimed
   concerns about COVID-19 excused that failure: “Plaintiff does not argue that he would be able to
   receive no relief whatsoever through the administrative grievance process but, rather, that the
   process would not be able to institute all the relief he requests immediately. But total and
   immediate relief is not the standard for exhaustion, ‘the possibility of some relief’ is.” (emphasis
   added) (quoting Ross, 136 S. Ct. at 1859)). The Supreme Court has “stress[ed]” that it “will not
   read futility or other exceptions into statutory exhaustion requirements where Congress has
   provided otherwise.” Booth, 532 U.S. at 741 n.6. Congress has provided no such exception in the
   PLRA’s “uncompromising statutory text.” Ross, 136 S. Ct. at 1857. Futility is not a viable reason
   to bypass exhaustion, and Plaintiffs’ insistence otherwise does not alter that reality.
           At bottom, the claim that an inmate need not exhaust his administrative remedies because
   the process would take too long to provide all the relief the inmate wants is a claim for a judicially
   created futility exception that is unrecognized by the Supreme Court and expressly prohibited by
   binding Eleventh Circuit law. It is not a tool in Plaintiffs’ arsenal.
           Finally, Plaintiffs cannot genuinely distinguish the painfully applicable Fifth Circuit
   decision in Valentine v. Collier, — F.3d —, 2020 WL 1934431 (5th Cir. Apr. 22, 2020), which
   soundly rejected nearly identical arguments regarding exhaustion and unavailability. In Valentine,
   two days after the district court granted the plaintiffs’ (inmates in a Texas jail) motion for
   preliminary injunction against the Texas Department of Criminal Justice (TDCJ) and two of its
   officials, finding it likely that the plaintiffs could prove an Eighth Amendment violation, the Fifth
   Circuit stayed the injunction pending appeal, concluding, inter alia, that the defendants were likely
   to show on appeal that the plaintiffs—who had not submitted any grievances prior to filing suit—
   failed to exhaust under the PLRA. Id. at *5–7. Valentine provides this Court with an uncomplicated
   roadmap to dismissal that dismantles Plaintiffs’ arguments here along the way.
           The Fifth Circuit rejected the argument that a grievance process that would take too long
   to provide relief to the plaintiffs given the circumstances posed by COVID-19 is “unavailable.” It



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   explained that “reading a ‘special circumstances’ exception in the PLRA” because of concerns
   about the spread of COVID-19 “would undo the PLRA and ‘resurrect’ its predecessor.’” Id. at *6
   (quoting Ross, 136 S. Ct. at 1858); see also Nellson, 2020 WL 1890670, at *5 (“[T]he Court does
   not overlook the risks of COVID-19 at [the facility] or in the prison system generally. But the
   Court may not alter the mandatory requirements of the PLRA for COVID-19 or any other special
   circumstance.”). Make no mistake: Plaintiffs here are making the same argument. See Resp. at 6
   (“Defendants’ primary argument (that the length of time required to access relief is irrelevant when
   determining the remedy’s availability) is both callous and nonsensical.”). As in Valentine, this
   Court should likewise reject Plaintiffs’ argument.
           Valentine also soundly rejected the argument that there is some sort of “imminent danger”
   exception to exhaustion. The Fifth Circuit neutralized Plaintiffs’ star case on this point, Fletcher
   v. Menard Correctional Center, 623 F.3d 1171 (7th Cir. 2010), a case that, since Ross, has never
   been cited outside the Seventh Circuit for the imminent-danger exception it created—that is,
   except in the district court order stayed by the Fifth Circuit in Valentine. The Fifth Circuit wisely
   declined to engage with Fletcher’s catastrophic hypothetical about an inmate who was going to
   die the next day and a procedure that prohibited responding to a grievance until two weeks after it
   was filed. Valentine, 2020 WL 1934431, at *7. The hypothetical was irrelevant—as it is irrelevant
   here—because TDCJ, like MDCR, “faces no legal bar to offering timely relief” and “is empowered
   to act on a grievance any time up to—not after, as in Fletcher—the statutory limit.” Id.4
           At least one Eleventh Circuit panel has expressly held that there is no imminent-danger
   exception to exhaustion. Plaintiffs disregard Bracero v. Secretary, Florida Department of
   Corrections, 748 F. App’x 200 (11th Cir. 2018), cert. denied sub nom. Bracero v. Inch, 139 S. Ct.
   1631 (2019), as a “single, unpublished decision that fails to support [Defendants’] position.” Resp.
   at 7. But this is an anemic effort to distract from Bracero’s flat rejection of the same imminent-
   danger exception Plaintiffs want the Court to create here. The plaintiff in Bracero did not comply
   with the offered administrative grievance procedure. From that point, the plaintiff advanced the
   exact argument offered here—that his failure to exhaust should be excused because his life and


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     Plaintiffs’ speculation that MDCR would take the entire permissible time to address a grievance and, if
   necessary, a grievance appeal, is just that: speculation. “Statements by counsel in briefs are not evidence.”
   Skyline Corp. v. NLRB, 613 F.2d 1328, 1337 (5th Cir. 1980). However, even if this were the case, there is
   no imminent danger exception recognized in the law, and Plaintiffs’ invitation to this Court to create one is
   a call to error and should be rejected.


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    safety were in danger. In particular, he claimed that the decision below was “not legally reasonable
    regarding the issue of exhaustion of remedies” for several reasons, including “lack of remedy or
    relief in the face of the danger appellant still face[s].” Br. of Appellant 16, Bracero v. Sec’y, Fla.
    Dep’t of Corr., No. 17-14278 (11th Cir. Mar. 12, 2018); see also id. at 1, 5 (“Complaint should
    not be dismissed when inmate allege danger.” (sic.)).
    The Eleventh Circuit acknowledged that the argument was made and rejected it:
           Bracero’s other efforts to overcome the exhaustion requirement are unavailing. He
           asserts that his complaint should not have been dismissed before granting injunctive
           relief because he alleged imminent danger, but exhaustion is a prerequisite for any
           prisoner suit.
    Bracero, 748 F. App’x at 203. Put simply, the court concluded that the plaintiff’s allegation that
    he faced imminent danger was an unavailing effort to overcome the exhaustion requirement.
           Here, Plaintiffs offer no principled reason to conclude differently. Bracero—a 2018
    unanimous opinion by three Eleventh Circuit Judges (W. Pryor, Rosenbaum, Anderson)—is a far
    more suitable vehicle than Fletcher for indicating how the Eleventh Circuit might treat the question
    of an imminent-danger exception in a future precedential decision. So too is Pearson v. Taylor,
    665 F. App’x 858 (11th Cir. 2016), where another panel of three Eleventh Circuit Judges (Jordan,
    Rosenbaum, J. Pryor) unanimously concluded that the plaintiff’s unavailability arguments “do not
    appear to fall within any of [Ross’s] three ‘exceptions’ exhaustion.” Id. at 868. Pearson, like
    Bracero, signals the view that the three exceptions in Ross are an exhaustive list. That spells doom
    for Plaintiffs, of course, because “imminent danger” is not on Ross’s list.
                                              CONCLUSION
           Under the PLRA, exhaustion is required regardless of the relief sought by the prisoner and
    regardless of the relief offered by the procedure. Booth, 532 U.S. at 736; Johnson, 418 F.3d at
    1156. The remedies a plaintiff must exhaust before filing suit in federal court need not be “speedy,”
    or “effective”—they must only be available. Nussle, 534 U.S. at 524.
           Plaintiffs here have failed to establish either a factual basis or a legal basis for finding that
    the administrative process was not available to them prior to filing this action. Their admitted
    failure to exhaust prior to suit is fatal to Count I. Accordingly, Count I of the Complaint must be
    dismissed.




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    Dated: May 22, 2020                              Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on May 22, 2020, I electronically filed the foregoing document with

    the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

    this day on all counsel of record via electronic mail, to the email addresses indicated on CM/ECF.

                                                        s/ Anita Viciana
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